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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
       Case No.       CV 13-08443 RGK (SHx)                                    Date    March 10, 2014
       Title          HCT Packaging Inc. v. TM International Trading Limited et al.




 Present: The                   R. GARY KLAUSNER, U.S. DISTRICT JUDGE
 Honorable


 Sharon L. Williams (Not Present)                          Not Reported                            N/A
                Deputy Clerk                        Court Reporter / Recorder                    Tape No.


               Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                         Not Present                                            Not Present


 Proceedings:                (IN CHAMBERS) Order re: Defendants’ Motion to Dismiss (DE 30)

I.        INTRODUCTION

        On November 14, 2013, HCT Packaging, Inc. (“HCT USA” or “Plaintiff”) filed a Complaint
against TM International Trading Limited (“TM”), Scene Media Limited (“Scene”), Lucinda Jane
McEvoy (“McEvoy”), and Norbert Mibran Topouzoglou (“Topouzoglou”) (McEvoy and Topouzoglou
collectively, “Individual Defendants”) (all defendants collectively, “Defendants”). Plaintiff alleges
claims for (1) Breach of Contract; (2) Breach of Implied Covenant of Good Faith and Fair Dealing; (3)
Intentional Misrepresentation; (4) Fraudulent Concealment; and (5) Declaratory Relief.

        Presently before the Court is Defendants’ Motion to Dismiss for (1) insufficient service of
process; (2) lack of personal jurisdiction; (3) improper venue; and (4) failure to state a claim upon which
relief can be granted. For the following reasons, the Court GRANTS IN PART and DENIES IN PART
Defendants’ Motion to Dismiss. The Court GRANTS Defendants’ Motion to Dismiss for lack of
personal jurisdiction as to Individual Defendants and Scene. Additionally, the Court DENIES
Defendants’ Motion as to TM, but orders that Plaintiff perfect service on TM.

II.       FACTUAL BACKGROUND

         In July 2013, HCT Asia Limited (“HCT Asia”), a Hong Kong company, engaged in discussions to sell
the Rebecca Bonbon cosmetics line (the “cosmetics line”) to Scene, a Hong Kong company. During these
discussions, McEvoy, a Scene director and an HCT Asia consultant, sent a proposal to HCT Asia presenting key
terms for the deal. Plaintiff alleges that Scene agreed to pay $294,307.20 in the proposal. Before completing the
deal, McEvoy informed HCT Asia that TM, a Hong Kong company, would purchase the cosmetics line instead of
Scene.

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         In September, 2013, McEvoy, acting on behalf of TM, met with a representative of HCT Asia in Hong
Kong where they finalized the terms of the deal and signed the Asset Purchase Agreement (“APA”). Under the
terms of the APA, the purchase price for the cosmetics line was $244,598, less than the amount Plaintiff contends
the parties agreed to in the earlier proposal. TM agreed to pay fifty percent (50%) of the purchase price on the
closing date of the agreement, twenty five percent (25%) on October 1, 2013, and twenty five percent (25%) on
November 1, 2013. The APA specified that any disputes would “be governed by and construed in accordance
with the laws of State of California, USA, and each of the parties submits to the exclusive jurisdiction and venue
of courts located in Los Angeles County, California.” All exchanges of goods were to occur in Hong Kong, with
products to be shipped to mainland China and other markets in Asia and Australia.

        HCT USA took over the contract as HCT Asia’s successor-in-interest at an unspecified time. The same
family owned both HCT USA and HCT Asia.

         Plaintiff claims that a clerical error created the discrepancy between the agreed-upon purchase price,
$294,307.20, and the price memorialized in the APA, $244,598. Plaintiff also alleges that Defendants knew about
the error and failed to inform Plaintiff. Furthermore, Plaintiff alleges that Defendants, recognizing the pricing
error, ordered more products at the lower rate in order to take advantage of the mistake. When Plaintiff recognized
the error, Plaintiff asked Defendants to adjust the rates to match the original agreed price. Defendants refused.

        TM paid the fifty percent (50%) owed on the closing date but has failed to pay the subsequent
installments. Meanwhile, Plaintiff delivered the remainder of the products listed on the APA.

III.       JUDICIAL STANDARD

           A.          Lack of Personal Jurisdiction - Rule 12(b)(2)

        Pursuant to Federal Rule of Civil Procedure (“Rule”) 12(b)(2), a party may seek dismissal of an
action for lack of personal jurisdiction. Once a defendant seeks dismissal under Rule 12(b)(2), the
plaintiff has the burden of demonstrating that personal jurisdiction exists. Menken v. Emm, 503 F.3d
1050, 1056 (9th Cir. 2007). Where the motion is based on written materials rather than an evidentiary
hearing, “the plaintiff need only make a prima facie showing of jurisdictional facts.” Sher v. Johnson,
911 F.2d 1357, 1361 (9th Cir. 1990). Accordingly, a court only “inquire[s] into whether [the plaintiff’s]
pleadings and affidavits make a prima facie showing of personal jurisdiction.” Caruth v. Int’l
Psychoanalytical Ass’n, 59 F.3d 126, 128 (9th Cir. 1995). Although the plaintiff cannot “simply rest on
the bare allegations of its complaint,” uncontroverted allegations in the complaint must be taken as true.
Amba Mktg. Sys., Inc. v. Jobar Int’l, Inc., 551 F.2d 784, 787 (9th Cir. 1997). In ruling on a 12(b)(2)
motion, the court may consider evidence outside the pleadings. Doe v. Unocal Corp., 248 F.3d 915, 922
(9th Cir. 2001).

       A district court in California has personal jurisdiction over a non-resident defendant if the
defendant has “at least ‘minimum contacts’ with the relevant forum such that the exercise of jurisdiction
‘does not offend traditional notions of fair play and substantial justice.’” Dole Food Co., Inc. v. Watts,
303 F.3d 1104, 1110-11 (9th Cir. 2002) (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316
(1945)). A district court “may exercise either general or specific personal jurisdiction over nonresident
defendants.” Fed. Deposit Ins. Corp. v. British-Am. Ins. Co., 828 F.2d 1439, 1442 (9th Cir. 1987).

           B.          Improper Venue - Rule 12(b)(3)

        Under Rule 12(b)(3) and 28 U.S.C. § 1406(a), a district court must dismiss a case filed in an
improper district or, if it is in the interest of justice, transfer the case to a district where venue would be
proper. See also King v. Russell, 963 F.2d 1301, 1304 (9th Cir. 1992). Plaintiff bears the burden of
showing that venue is proper. Piedmont Label Co. v. Sun Garden Packing Co., 598 F.2d 491, 496 (9th
Cir. 1979). In ruling on a motion to dismiss for improper venue, the allegations in the complaint need

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not be accepted as true, and the court may consider evidence outside the pleadings. See Argueta v.
Banco Mexicano, S.A., 87 F.3d 320, 324 (9th Cir. 1996).

          C.          Failure to State a Claim - Rule 12(b)(6)

         The federal pleading standard states in relevant part that “a claim for relief must contain . . . a
short and plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.
8(a)(2). Under Rule 12(b)(6), a party may move to dismiss for failure to state a claim upon which relief
can be granted. In deciding a Rule 12(b)(6) motion, the court must assume allegations in the challenged
complaint are true, and construe the complaint in the light most favorable to the non-moving party.
Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996). However, a court need not accept as
true unreasonable inferences, unwarranted deductions of fact, or conclusory legal allegations cast in the
form of factual allegations. See W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981).
Furthermore, a pleading must contain sufficient factual matter that, if accepted as true, states a claim
that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim is facially plausible
when there are sufficient factual allegations to draw a reasonable inference that the defendant is liable
for the misconduct alleged. Id.

          D.          Improper Service of Process - Hague Convention - Rule 12(b)(5)

        A party may move to dismiss under Rule 12(b)(5) on the grounds that it was not properly served.
Service is proper if it complies with the requirements of Rule 4. A plaintiff bears the burden of
demonstrating that service is proper. Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004). However,
“Rule 4 is a flexible rule that should be liberally construed so long as a party receives sufficient notice
of the complaint.” United Food & Commercial Workers Union v. Alpha Beta Co., 736 F.2d 1371, 1382
(9th Cir. 1984). When determining whether service has been properly executed, a court may consider
evidence outside the pleadings. See S.E.C. v. Internet Solutions for Bus., Inc., 509 F.3d 1161 (9th Cir.
2007).

IV.       DISCUSSION

        Defendants argue that Plaintiff’s claims should be dismissed for improper service of process,
lack of personal jurisdiction, improper venue, lack of subject matter jurisdiction, and failure to state a
claim upon which relief can be granted. The Court dismisses all claims against Individual Defendants
and Scene for lack of personal jurisdiction and maintains all claims against TM, pending proper service
on TM.

          A.          Personal Jurisdiction

        Plaintiff argues that the Court has personal jurisdiction over Defendants because TM submitted
to California jurisdiction in the APA, and the other Defendants are the alter egos of TM. Alternatively,
Plaintiff argues that the Court has specific personal jurisdiction over Defendants due to their contacts
with California. The Court agrees as to TM but disagrees as to Individual Defendants and Scene.

                      1.     TM

        TM submitted to this Court’s jurisdiction by signing the APA. “[P]arties to a contract may agree
in advance to submit to the jurisdiction of a given court . . . .” National Equipment Rental, Ltd. v.
Szukhent, 375 U.S. 311, 315-16 (1964). Section 11.1 of the APA states: “This Agreement shall be
governed by and construed in accordance with the laws of State of California, USA, and each of the
parties submits to the exclusive jurisdiction and venue of courts located in Los Angeles County,
California.” (D.E. 1, Ex. A.) A director of TM signed the APA on TM’s behalf and initialed the page
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containing Section 11.1. (D.E. 1, Ex. A.) Therefore, TM has consented to personal jurisdiction in
California.

       Defendants argue that a provision of the California Code of Civil Procedure precludes
enforcement of a forum selection clause between non-residents when the amount-in-controversy is not
over $1,000,000. This Section states,

       Any person may maintain an action or proceeding in a court of this state against a foreign
       corporation or nonresident person where the action or proceeding arises out of or relates to
       any contract, agreement, or undertaking for which a choice of California law has been made
       in whole or in part by the parties thereto and which (a) is a contract, agreement, or
       undertaking, contingent or otherwise, relating to a transaction involving in the aggregate not
       less than one million dollars ($1,000,000), and (b) contains a provision or provisions under
       which the foreign corporation or nonresident agrees to submit to the jurisdiction of the courts
       of this state.

Cal. Civ. Proc. Code § 410.40. However, this section does not limit California’s jurisdiction, much less
this court’s jurisdiction. See Credit Lyonnais Bank Nederland, N.V. v. Manatt, Phelps, Rothenberg &
Tunney, 249 Cal. Rptr. 559, 565 (Ct. App. 1988) (explaining that California implemented Section
410.40 to prevent dismissal for forum non conveniens in certain circumstances). Therefore, Section
410.40 does not prevent Plaintiff from bringing this action in this Court.

                   2.   Individual Defendants and Scene

      Individual Defendants and Scene contend that this Court lacks personal jurisdiction over them.
The Court agrees.

                        a.     Consent

       Plaintiff argues that Individual Defendants and Scene are the alter egos of TM, and should not be
protected by TM’s corporate shield. As a result, Plaintiff argues, Individual Defendants and Scene also
consented to jurisdiction under Section 11.1 of the APA.

        “To apply the alter ego doctrine, the court must determine (1) that there is such unity of interest
and ownership that the separate personalities of the corporation and the individuals no longer exist and
(2) that failure to disregard the corporation would result in fraud or injustice.” Flynt Distrib. Co. v.
Harvey, 734 F.2d 1389, 1393 (9th Cir. 1984). Piercing the corporate veil is a rare exception. Dole Food
Co. v. Patrickson, 538 U.S. 468, 475 (2003).

        Plaintiff alleges that Individual Defendants acted fraudulently while representing TM, and,
therefore, the Court has jurisdiction over McEvoy as a signatory to the APA. (Opp. at 11.) However,
even if Plaintiff had alleged facts consistent with fraud, Plaintiff does not allege any facts that suggest
such a unity of interests between TM and Individual Defendants that “the separate personalities of the
corporation and the individuals no longer exist.” Flynt Distrib., 734 F.2d at 1389. Thus, the Court is not
persuaded that piercing the corporate veil as to Individual Defendants is appropriate.

         Plaintiff also conclusorily alleges in the Opposition that Scene is the alter ego of TM because of
its affiliate and subsidiary status. (Opp. at 11.) Plaintiff further alleges that until “the eleventh hour of
negotiations,” it thought Scene, not TM, would be the named signatory on the APA. (Opp. at 11.)
Plaintiff argues that these allegations, if proven, would lead the court to pierce the corporate veil and
consider Scene a signatory to the APA. The Court disagrees. Aside from alleging that the companies are
related by common ownership and common employees, Plaintiff does not allege specific facts that
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demonstrate fraud or disregard of the corporate form. Even if Plaintiff initially thought that Scene would
sign the APA, there is no allegation that the substitution of TM was fraudulent. Therefore, the Court is
not persuaded that Scene consented to jurisdiction through TM’s signing of the APA.

                      b.      General Jurisdiction

        Having found that Individual Defendants and Scene did not consent to jurisdiction, the Court
must determine if they had minimum contacts such that jurisdiction is permissible. A Court has general
jurisdiction over a non resident defendant when the defendant has continuous, systematic, or substantial
contacts with the forum state. Fed. Deposit Ins. Corp., 828 F.2d at 1442. Plaintiff does not allege that
Defendants have substantial, continuous, or systematic contacts with California. Therefore, this Court
may not exercise general jurisdiction over Defendants.

                      c.      Specific Jurisdiction

       A court’s exercise of specific jurisdiction over a defendant “must comport with the state long-
arm statute, and with the constitutional requirement of due process.” Ziegler v. Indian River Cnty., 64
F.3d 470, 473 (9th Cir. 1995) (internal quotations and citation omitted). California’s long-arm statute
reaches to the limits imposed by the Due Process Clause of the Constitution. Cal. Civ. Proc. Code §
410.10; Mattel, Inc. v. Greiner & Hausser GmbH, 354 F.3d 857, 863 (9th Cir. 2003).

         For a court to subject a nonresident defendant to jurisdiction in the forum state, due process
requires that the defendant have “certain minimum contacts with [the forum] such that maintenance of
the suit does not offend traditional notions of fair play and substantial justice.” Int’l Shoe Co. v.
Washington, 326 U.S. 310, 316 (1945) (internal quotations and citation omitted). Courts use a three-part
test to determine whether the exercise of personal jurisdiction is consistent with due process. Mattel, 354
F.3d at 863. A court has specific jurisdiction over a defendant if “(1) the defendant has performed some
act or consummated some transaction within the forum or otherwise purposefully availed himself of the
privileges of conducting activities in the forum, (2) the claim arises out of or results from the
defendant’s forum-related activities, and (3) the exercise of jurisdiction is reasonable.” Bancroft &
Masters v. Augusta Nat’l Inc., 223 F.3d 1082, 1086 (9th Cir. 2000). The plaintiff bears the burden of
proving the first two elements. Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir.
2004). If the Plaintiff succeeds, the burden shifts to the defendant to show that the exercise of
jurisdiction would be unreasonable. Id.

        Plaintiff argues that Defendants’ forum-related activities include visiting the HCT USA office in
Santa Monica and ordering more products from Plaintiff knowing that those orders would be placed
through the Santa Monica office. However, Plaintiff’s claims do not arise out of those activities. Instead,
they arise out of the transaction between HCT Asia and TM, two Hong Kong companies. (Compl. ¶ 1.)
The negotiations, signing, and performance of the APA all took place in Hong Kong. While Plaintiff
alleges that TM ordered more products from HCT USA knowing they would come from California, the
Court is not persuaded that merely ordering products under a disputed contract constitutes sufficient
contact with California to support the exercise of jurisdiction over the defendants who did not consent to
jurisdiction. Therefore, the claims do not result from Defendants’ forum-related activities. For these
reasons, the second prong of the specific jurisdiction test is not satisfied and the Court must dismiss all
claims against Individual Defendants and Scene.

                      d.      Jurisdictional Discovery

       Plaintiff requests a continuance to conduct jurisdictional discovery. The Court denies Plaintiff’s
request.

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        Discovery on the issue of personal jurisdiction “should ordinarily be granted where pertinent
facts bearing on the question of jurisdiction are controverted or where a more satisfactory showing of
the facts is necessary.” Butcher’s Union Local No. 498, United Food and Commercial Workers v. SDC
Inv., Inc., 788 F.2d 535, 540 (9th Cir. 1986) (internal quotation marks and citation omitted).

        The Court has determined that all alleged claims arise out of the APA and that HCT Asia was the
original party to that contract. These facts are sufficient to dismiss Individual Defendants and Scene for
lack of personal jurisdiction, and the Court does not believe that additional discovery is warranted.

       B.          Venue

       Defendants argue that the Court should dismiss Plaintiff’s claims for improper venue and forum
non conveniens. The Court disagrees.

        “Federal law governs the validity of a forum selection clause.” Argueta, 87 F.3d at 324. Courts
will enforce forum selection clauses

       unless the party challenging enforcement of such a provision can show it is unreasonable
       under the circumstances. The Supreme Court has construed this exception narrowly. A forum
       selection clause is unreasonable if (1) its incorporation into the contract was the result of
       fraud, undue influence, or overweening bargaining power, (2) the selected forum is so
       gravely difficult and inconvenient that the complaining party will for all practical purposes
       be deprived of its day in court, or (3) enforcement of the clause would contravene a strong
       public policy of the forum in which the suit is brought.

Id. at 325 (internal quotations omitted).

        TM submitted to jurisdiction via the forum selection clause of the APA. Defendants argue that
this clause should be ignored because it is in the middle of a section marked “Miscellaneous.” However,
this contract was written by sophisticated parties, both of whom initialed the page containing the forum
selection clause. Thus, TM either knew or should have known about the forum selection clause, and
Defendants failed to show any fraud, undue influence, or overweening bargaining power when
incorporating the clause. Defendants do not raise any convincing public policy reasons not to enforce
the forum selection clause. Therefore, the forum selection clause is enforceable and venue is proper.

       Defendants also argue that California Code of Civil Procedure Section 410.40 precludes Plaintiff
from bringing this case in California. Because federal law governs the validity of forum selection
clauses, this Court is not bound by Section 410.40.

       C.          Subject Matter Jurisdiction

         Defendants argue that this Court lacks subject matter jurisdiction because Section 410.40 limits
its jurisdiction. The Court disagrees. Federal subject matter jurisdiction is determined by federal statute,
not state law. 28 U.S.C. § 1332. Since Plaintiff fulfilled the diversity and amount-in-controversy
requirements, this Court has subject matter jurisdiction over the claims. See id.

       D.          Failure to State a Claim

       Defendants argue that it is impossible to state a claim upon which relief can be granted because
Section 410.40 bars all their claims. As a result, Defendants argue, Plaintiff has no possibility of relief in
California. Once again, Section 410.40 does not apply. Therefore, the Court will not dismiss Plaintiff’s

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claims under Rule 12(b)(6).

         E.          Service of Process

        Defendants also argue that the Court should dismiss Plaintiff’s claims for improper service of
process. The Court agrees that Plaintiff improperly served TM but will not dismiss the claim on this
basis. Rather the Court will allow Plaintiff to re-serve TM in accordance with the Hague Convention.

        Rule 4(h) states that a foreign corporation must be served, if outside the United States, in
accordance with Rule 4(f). According to Rule 4(f)(1), a party may be served in a foreign country “by an
internationally agreed means of service that is reasonably calculated to give notice, such as those
authorized by the Hague Convention . . . .” It is mandatory to apply the Hague Convention when both
countries are signatories to the Convention. Volkswagenwerk Aktiengesellschaft v. Schlunk, 486 U.S.
694, 699 (1988). Hong Kong and the United States are both signatories to the Hague Convention so the
rules of the Hague Convention apply. See Hyundai Merchant Marine Co. Ltd. v. Grand China Shipping
(Hong Kong) Co. Ltd., 878 F. Supp. 2d 1252, 1261, 1262 n.5 (S.D. Ala. 2012).

        It is undisputed that Plaintiff’s Hong Kong counsel personally served TM. Article 10(b) of the
Hague Convention allows for personal service unless the State of destination objects. Convention on the
Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters art. 10(b), Nov.
15, 1965, 20 U.S.T. 361. Hong Kong objected to article 10(b). Delinger v. Chinadotcom Corp., 2 Cal.
Rptr. 3d 530, 538 (Ct. App. 2003). Therefore, personal service is insufficient. For this reason, Plaintiff
failed to properly serve TM under the Hague Convention.

       Because TM received actual notice, however, the Court may construe Rule 4 liberally. Since the
Court believes that a second attempt at service will not prejudice TM, the Court will allow Plaintiff
three weeks to perfect service in accordance with the Hague Convention.

V.       CONCLUSION

        For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART Defendants’
Motion to Dismiss. The Court GRANTS Defendants’ Motion to Dismiss for lack of personal
jurisdiction as to Individual Defendants and Scene. Additionally, the Court DENIES Defendants’
Motion as to TM, but orders that Plaintiff perfect service on TM.

         IT IS SO ORDERED.

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                                                                    Initials of Preparer




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